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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


 GOVERNOR GREG ABBOTT, in his official
 capacity as Governor of the State of
 Texas,
        Plaintiff,

 and                                                       No. 6:22-cv-3-JCB

 GOVERNOR MIKE DUNLEAVY, in his official
 capacity as Governor of the State of
 Alaska,

 v.

 JOSEPH R. BIDEN, in his official capacity as
 President of the United States;
 DEPARTMENT OF DEFENSE; LLOYD AUSTIN,
 in his official capacity as Secretary of the
 Defense; DEPARTMENT OF THE AIR FORCE;
 FRANK KENDALL III, in his official capacity
 as Secretary of the Air Force; DEPARTMENT
 OF THE ARMY; and CHRISTINE WORMUTH,
 in her official capacity as Secretary of the
 Army,
         Defendants.


                              PLAINTIFF’S NOTICE OF APPEAL

       Pursuant the Federal Rules of Appellate Procedure and 28 U.S.C. § 1292(a)(1), Plaintiff

Governor Greg Abbott files this Notice of Appeal to the United States Court of Appeals for the

Fifth Circuit from the district court’s Opinion and Order denying Plaintiffs’ Motion for

Preliminary Injunction, entered on June 24, 2022. ECF No. 48.
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 Date: June 28, 2022.                               Respectfully submitted.

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                                                    COUNSEL FOR GOVERNOR ABBOTT


                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument has been sent by
electronic notification through ECF by the United States District Court, Eastern District of
Texas, Tyler Division, on June 28, 2022, to all counsel of record.


                                             /s/ Christopher D. Hilton
                                             CHRISTOPHER D. HILTON
                                             Assistant Attorney General




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